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                                              EXHIBIT C

                         Schedule of Assumed Executorv Contracts and Cure Costs




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                                           Exhibit C

                                  Assumed Executory Contracts

Assumed Equipment Leases
None
Assumed Contracts
1. Agreements between one or more ofthe Sellers and each of the following vendors for the
softare set forth beside the name of the vendor:

                                                                 ..
Software    Nanie                       Vendor                               Cure   Amouiit


1099 Enterprise                         1099 Pro, Inc                   $0.00
Cut Planner Softare                     20/20 Technologies              $0.00
EZPay Softare                           ACOM Solutions                  $9,917.20
Installshield Softare                   Acresso Softare, Inc.           $0.00
PDF Relay Client and Server             AdLib Publishing                $0.00
Kio Ware Softare                        Analytical Design - DBA KioWare $0.00
Empart Publisher                        ARI                             $26,000.00
BCT Easy Plot Server and Client         BCT Technology                  $7,534.80
Mastercam Softare                       CAD/CAM Technologies            $2,050.00
Cognos Finance                          Cognos Corporation              $0.00
Cognos Impromptu and Powerplay          Cognos Corporation              $0.00
Erwin AllFusion                         Computer Associates             $1,579.00
InsIte Softare                          Cummins Northwest, Inc          $4,190.00
Surfcam Velocity                        Design & Softare Int'l          $2,400.00
Docuware                                Docuware                        $0.00
CaseTrack Softare                       Economic Analysis Group, Ltd    $0.00
GroundWork Softare                      GroundWork Open Source          $0.00
SQL Diagnostic Manager Softare          Idera - BBS Tek                 $0.00
McAfee Groupshield                      McAfee                          $0.00
Microstrategy Softare                   Microstrategy                   $0.00
CAT Softare                             Peterson Machinery              $0.00
Intergy/Powerbuilder                    PowerCerv                       $14,527.00
Proofpoint                              Proofpoint, Inc                 $14,328.00
Visual Source Safe                      Microsoft                       $0.00
SQL Compare Bundle                      Red Gate Softare Ltd            $0.00
Blackberry                              RI Technology                   $0.00
Fixed Asset Softare                     Sage Softare                    $3,215.00
FacSys                                  Softare Spectru                 $0.00
Iprism Softare                          S1. Bernard Softare             $0.00
SAN Back-up                             Sun Microsystems                $0.00
Altiris                                 Symantec                        $13,500.00
Endpoint Encrytion                      Symantec                        $0.00
Symantec Anti-Virus                     Symantec                        $44,060.30
NetBackUp Softare                       Symantec                        $0.00
BCMS Vu                                 TLI (Continuant)                $0.00


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 Software Name                                            Vendor                     ..... ......
                                                                                                        Cure   Amount


 EpiSuite Badge Design Softare                            TransTech Systems                             $0.00
 FEMAP                                                    Unigraphics                                   $0.00
 Sales Tax Softare                                        Vertex                                        $0.00
Vmware                                                    Vmware, Inc.                                  $0.00
Cisco Equipment                                           Qwest                                         $0.00
Unity Voice Servers                                       NSI                                           $0.00
FFTF SSL Certificates                                     Network Solutions                             $0.00
SSL Certificates                                          Certificates for Exchange                     $0.00
Domain Registration                                       Network Solutions                             $0.00
MapPoint                                                  Microsoft Corporation                         $15,000.00
Blade UPS                                                 Performance Power Concepts                    $3,539.00
IP Phones and Unity Call Manager .                                                                      $32,165.04
Softare Support                                          NSI
CheckPoint Appliances                                    Incentra                                      $9,355.50
PBX Phone Systems                                        Continuant                                    $10,459.48
Microsoft Enterprise Agreement                           Microsoft Corporation                         $0.00
Microsoft Premier Support                                Microsoft Corporation                         $0.00
Unigraphics & TeamCenter                                 UGS                                           $0.00
APC UPS System                                            Oregon Computer Power                        $2,668.00
Integrated Router Management                             Qwest                                         $0.00
IBM Servers                                              Sirius                                        $0.00
Oracle Databases                                         Oracle                                        $0.00
Network hardware, telecom, softare                       Qwest                                         $136,972.38

2. Outbound License Agreements




License Agreement, dated as of             May 30,2007, by and between ParentCo and Custom
Chassis Products, LLC related to U.S. Patent No. 7,178,817 (Trailing Ar Suspension) $0.00
Agreement for the CAYMAN mark, dated as of               November 2, 2004 by and between
ParentCo and Inomark GmbH/orsche AG $0.00
License Agreement, dated as of April 25, 1994, by and between Holiday Rambler LLC
to Holiday Rambler Recreational Vehicle Club, Inc. $0.00
                                                   September 29,2004, by and among ParentCo and
Monaco International
License Agreement, dated as of

                                    $0.00
              May 2008, by and between
ParentCo and Mahindra & Mahindra $0.00
License Agreement for Mahindra Logo, dated as of




"Trinkets" Trademark License Agreements by and between ParentCo and the following
paries relating to the goods specified $0.00
2a. Outbound License Agreements
¡Licensee I                               Date                 I
                                                                   Goods   being   Licen.sed I. Cure Amount



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  Advertising Products & Undated             Chairs, Trinkets               $0.00
  Promotions
  (Quacktown)
  Comfy Cottons          Januar 17,   2006   Cotton Vest                    $0.00
                                             Cotton Pull-Over Jacket
                                             Cotton Golf Shirt
                                             Cotton Shorts
  Custom Gloves          July 20, 2007       Gloves, Emblems                $0.00
                                             Epoxy Decals Black/Gold
                                             Epoxy Dome Decals
                                             Black w/Chrome
                                             Epoxy Dome Decals Blue
                                             w/Chrome
 Dance Northwest         May 10, 2007        Banners, Flyers                $0.00
 Flags Galore Nt More    May 19, 2005        Flags                          $0.00
 Home Mats               February 9, 2004    Promo Floor Mats               $0.00
 HRVC Club               January 19, 2006    Logo Advertisements for        $0.00
                                             the Club Clothing items,
                                             trinkets, etc.

 J.J. Gold and Jems      June 29,2002        Jewelry                       $0.00
 Jessie's Jewelry        March 4, 2003       Bolo Jewelry                  $0.00
 Lady Jayne LTD          February 28,        Brass metal Finished in       $0.00
                         2006                14Kt Gold Emblems
 Latitudes               March 5, 2004       Clothing items, trinkets,     $0.00
                                             etc.
 McKenzie Outfitters     March 1, 2004       Clothing items, trinkets,     $0.00
                                             etc.
 Motor Coach Designs     May 24, 2006        Solar/privacy screen sets     $0.00
                                             Wheel Covers
                                             Mirror Cover sets
                                             Mirror Bra sets
                                             Vent/fan Covers
                                             Skylight Covers
                                             Screen Door/Solar Screen
                                             Tow Bar Covers
                                             Toad Car Screens
                                             Driving Solar Screens
                                             Wiper Covers
 Plak-R frame-Rite      June 1,2006          Plak-R frame Rights           $0.00
                                             Sign Branded Products         $0.00
 Sullivan Sportswear    March 18, 2004       Clothing items, trnkets,      $0.00
                                             etc.
 Textile Graphics       July 14, 2007        Clothing items, trinkets,     $0.00
                                             etc.
 The Sign Man           December 28,         Plastic Name Badges           $0.00
                        3006                 Sign branded products


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I Universal Products          I February 2,2004 I Decals                                  i $0.00

 3. Inbound IP License Agreements
                                                                                                           Cure
                                                                                                           Amou
A                                                                                                          nt
Trademark Assignent and License Agreement for the NAVIGATOR mark, dated as
of   December 18, 1995, by and between Ford Motor Company and Holiday Rambler
LLC                                                                                                        $0.00
Undertaking, dated as of         September 7,2001, by and between the Governent of the
Principality of          Monaco and ParentCo                                                               $0.00

4. Other Assumed Contracts
                                                                       ...
                                                                             ...                    ...
                                                                                                          Cure
                   ...                                           ...           ... ..                     Ainouiit
RVIA Member Manufacturer's Commitment dated April 1,2001- Monaco Coach
Corporation                                                                                               $0.00
Service Contract dated as of                  between Monaco Coach Corporation and the RVIA for
the Anual Pomona Trade Show                                                                               $0.00
Service Contact between Monaco Coach Corporation and the RVIA for the Anual
Louisville Trade Show                                                                                     $0.00
Website Development and Hosting Agreement, dated as of                  March 5,2005, by and
between Bison Manufacturing LLC and The Image Group, Inc.                                                 $0.00
Website Development and Hosting Agreement, dated as of January 4,2005, by and
between R-Vision and The Image Group, Inc.                                                                $953.23




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